849 F.2d 605Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Edward LAMBERTH, Petitioner-Appellant,v.Michael C. SAMBERG;  Attorney General of Virginia,Respondents-Appellees.
    No. 88-6542.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 18, 1988.Decided:  June 6, 1988.
    
      Robert Edward Lamberth, appellant pro se.
      Thomas Drummond Bagwell, Assistant Attorney General (Office of the Attorney General of Virginia), for appellees.
      Before JAMES DICKSON PHILLIPS, MURNAGHAN and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert Edward Lamberth seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Lamberth v. Samberg, C/A No. 87-33-L (W.D.Va. Jan. 21, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    